           Case 2:11-cv-02161-WBS-EFB Document 15 Filed 02/26/13 Page 1 of 6




 1

 2

 3

 4

 5

 6

 7

 8                           IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   LARRY SOLORIO,

11                  Petitioner,                   No. 2:11-cv-2161 WBS EFB P

12          vs.

13   KEVIN CHAPPELL,1

14                  Respondent.                   FINDINGS AND RECOMMENDATIONS

15                                    /

16          Petitioner is a state prisoner without counsel seeking a writ of habeas corpus pursuant to

17   28 U.S.C. § 2254. Respondent moves to dismiss this action as untimely. Dckt. No. 10. For the

18   following reasons, respondent’s motion must be granted.

19   I.     Procedural History

20          Petitioner was convicted of grand theft on January 21, 1997. Documents Lodged ISO

21   Resp.’s Mot. to Dismiss (hereinafter “Lodg. Doc.”) 1. Pursuant to California’s Three Strikes

22   law, the Sacramento County Superior Court sentenced petitioner to 25 years to life. Lodg. Docs.

23
            1
               Cullen (first name not provided) was previously named as the respondent. Kevin
24   Chappell is currently the warden of San Quentin State Prison, where respondent is incarcerated.
     “A petitioner for habeas corpus relief must name the state officer having custody of him or her as
25   the respondent to the petition.” Stanley v. California Supreme Court, 21 F.3d 359, 360 (9th Cir.
     1994) (citing Rule 2(a), 28 U.S.C. foll. § 2254). Accordingly, the court now substitutes Kevin
26   Chappell as respondent.

                                                     1
           Case 2:11-cv-02161-WBS-EFB Document 15 Filed 02/26/13 Page 2 of 6




 1   1, 2. Petitioner appealed his conviction to the California Court of Appeal, Third Appellate

 2   District, which affirmed the lower court’s judgment. Lodg. Doc. 2. Petitioner filed a petition for

 3   review in the California Supreme Court, which denied the petition on April 11, 2001. Lodg.

 4   Docs. 3, 4.

 5          Petitioner subsequently filed three state habeas petitions. First, he filed a habeas petition

 6   in the Sacramento County Superior Court on February 15, 2010.2 Lodg. Doc. 5. That petition

 7   was denied on March 22, 2010. Lodg. Doc. 6. The second state petition was filed in the

 8   California Court of Appeal, Third Appellate District, on April 12, 2010, and was denied on April

 9   15, 2010. Lodg. Docs. 7, 8. Petitioner’s last state petition, filed in the California Supreme

10   Court, was denied on July 13, 2011. Lodg. Docs. 9, 10.

11          The instant petition was filed in this court on August 8, 2011. Dckt. No. 2011. Petitioner

12   claims that his sentence violates the United States Supreme Court’s holdings in Apprendi v. New

13   Jersey, 530 U.S. 466 (2000), Blakely v. Washington, 542 U.S. 296 (2004), and Cunningham v.

14   California, 549 U.S. 270 (2007), because he received an indeterminate life sentence based on

15   factual findings made by the sentencing judge and not by a jury.3 Dckt. No. 1 at 5.4

16   II.    Statute of Limitations

17          A one-year limitations period for seeking federal habeas relief begins to run from the

18   latest of the date the judgment became final on direct review, the date on which a state-created

19
            2
               The court deems the filing date for each of petitioner’s habeas petitions to be the date
20   reflected on the certificate of service for the respective petitions. See Houston v. Lack, 487 U.S.
     266, 276 (1988) (prisoner’s notice of appeal deemed timely filed on the date it was delivered to
21   prison staff for delivery to the court); Smith v. Duncan, 297 F.3d 809, 814 (9th Cir. 2002)
     (applying mailbox rule to petitions filed in state court), overruled on other grounds by Pace v.
22   DiGuglielmo, 544 U.S. 408, 418 (2005).
            3
23            Petitioner does not specifically state what factual findings were made by the sentencing
     judge. However, based on a fair reading of the petition, it appears petitioner believes the
24   sentencing judge impermissibly determined that petitioner had two prior strikes under California
     Three Strike law without submitting the issue to a jury.
25
            4
              The page numbers cited herein refer to those assigned by the court’s electronic
26   docketing system and not those assigned by the parties.

                                                      2
            Case 2:11-cv-02161-WBS-EFB Document 15 Filed 02/26/13 Page 3 of 6




 1   impediment to filing is removed, the date the United States Supreme Court makes a new rule

 2   retroactively applicable to cases on collateral review or the date on which the factual predicate of

 3   a claim could have been discovered through the exercise of due diligence. 28 U.S.C.

 4   § 2244(d)(1).

 5           There is no statutory tolling of the limitations period “from the time a final decision is

 6   issued on direct state appeal [to] the time the first state collateral challenge is filed . . . .” Nino v.

 7   Galaza, 183 F.3d 1003, 1006 (9th Cir. 1999). However, once a petitioner properly files a state

 8   post-conviction application the period is tolled, and remains tolled for the entire time that

 9   application is “pending.” 28 U.S.C. § 2244(d)(2). “[A]n application is ‘properly filed’ when its

10   delivery and acceptance are in compliance with the applicable laws and rules governing filings.”

11   Artuz v. Bennett, 531 U.S. 4, 8 (2000). In California, a properly filed post-conviction application

12   is “pending” during the intervals between a lower court decision and filing a new petition in a

13   higher court. Carey v. Saffold, 536 U.S. 214, 223 (2002). A federal habeas application does not

14   provide a basis for statutory tolling. Duncan v. Walker, 533 U.S. 167, 181-82 (2001).

15           Equitable tolling is available where a petitioner shows “‘(1) that he has been pursuing his

16   rights diligently, and (2) that some extraordinary circumstance stood in his way’ and prevented

17   timely filing.” Nedds v. Calderoni, 678 F.3d 777 (9th Cir. 2012). The U.S. Court of Appeals for

18   the Ninth Circuit has held that the threshold necessary to trigger equitable tolling is very high,

19   and clarified that equitable tolling only applies where a petitioner shows that despite diligently

20   pursuing his rights, some external force caused the untimeliness. Waldron-Ramsey v. Pacholke,

21   556 F.3d 1008, 1011 (9th Cir. 2009).

22           Petitioner has the burden of showing facts entitling him to statutory and equitable tolling.

23   Smith, 297 F.3d at 814 (overruled on other grounds by Pace, 544 U.S. at 418); Miranda v.

24   Castro, 292 F.3d 1063, 1065 (9th Cir. 2002).

25   ////

26   ////

                                                         3
            Case 2:11-cv-02161-WBS-EFB Document 15 Filed 02/26/13 Page 4 of 6




 1   III.    Analysis

 2           A. Start Date of the Limitations Period

 3           In this case, the statute of limitations began to run when petitioner’s conviction became

 4   final on direct review. See 28 U.S.C. § 2244(d)(1)(A). The California Supreme Court denied

 5   review on April 11, 2001. Lodg. Doc. 4. The conviction became final within the meaning of

 6   section 2244(d)(1)(A) when the time for filing a petition for writ of certiorari expired ninety days

 7   later, on July 10, 2001. Supreme Ct. R. 13; Bowen v. Roe, 188 F.3d 1157, 1158-59 (9th Cir.

 8   1999). The one year limitations period commenced running the following day. Patterson v.

 9   Stewart, 251 F.2d 1243, 1246 (9th Cir. 2001). Thus, the petitioner had until July 10, 2002, to file

10   his federal habeas petition. However, he did not file the instant petition until August 8, 2011.

11   Dckt. No. 1. Absent tolling, the petitioner is more than nine years late.

12           In his opposition to the present motion, petitioner argues that this court may entertain his

13   petition because his claims “are based solely on a New Rule of Law and Newly discovered and

14   Newly presented evidence.” Dckt. No. 13 at 3 (internal quotations omitted). Although not

15   entirely clear from his opposition, petitioner appears to argue that he is entitled to a later start

16   date under 28 U.S.C. 2244(d)(1)(C) because his claim is based on the United States Supreme

17   Court’s decision in Cunningham, which was decided after his conviction became final. See

18   Dckt. No. 1 at 6-7.

19           Under 28 U.S.C. 2244(d)(1)(C), the limitations period may commence running “on the

20   date on which the constitutional right asserted was initially recognized by the Supreme Court, if

21   the right has been newly recognized by the Supreme Court and made retroactively applicable to

22   cases on collateral review.” In Cunningham, the Supreme Court did not recognize a new

23   constitutional right. Butler v. Curry, 528 F.3d 624, 639 (9th Cir. 2008) (“Cunningham . . . did

24   not announce a new rule of constitutional law. . . .”). Accordingly, the Supreme Court’s

25   decision in Cunningham does not provide petitioner a later start date under section

26   ////

                                                        4
           Case 2:11-cv-02161-WBS-EFB Document 15 Filed 02/26/13 Page 5 of 6




 1   2244(d)(1)(C).5

 2          Furthermore, petitioner is not entitled to a later start date under section 2244(d)(1)(D).

 3   That section provides that the limitation period for filing a federal habeas petition runs from “the

 4   date on which the factual predicate of the claim or claims presented could have been discovered

 5   through the exercise of due diligence.” 28 U.S.C. § 2244(d)(1)(D). While petitioner contends

 6   that his claims are based on new evidence, he does not actually present or discuss any new

 7   evidence. Dckt. No. 13 at 3. At most, petitioner presents an argument that he was not aware of

 8   the legal significance of the facts surrounding his case until the Supreme Court issued its

 9   decision in Cunningham. See Dckt. No. 13 at 3-4. However, under section 2244(d)(1)(D), the

10   “factual predicate” of a claim is discovered “when the prisoner knows (or through diligence

11   could discover) the important facts, not when the prisoner recognizes their legal significance.”

12   Hasan v. Galaza, 254 F.3d 1150, 1154 n.3 (9th Cir. 2001). Petitioner was aware of the facts

13   surrounding the imposition of his sentence at the time of conviction. He therefore is not entitled

14   to the start date provided by section 2244(d)(1)(D).

15          B. Tolling

16          Petitioner’s three state habeas petitions were all filed after July 10, 2002, the date the

17   limitations period expired. Accordingly, his state petitions do not provide a basis for statutory

18   tolling. See Ferguson v. Palmateer, 321 F.3d 820, 823 (9th Cir. 2003) (“[S]ection 2244(d) does

19   not permit the reinitiation of the limitations period that has ended before the state petition was

20   filed.”); Jiminez v. Rice, 276 F.3d 478, 482 (9th Cir. 2001) (finding a petitioner’s filing of a state

21
            5
               In his petition, petitioner also appears to argue that the limitations period was not
22   triggered until the California Supreme Court issued its decision in In re Gomez, 45 Cal.4th 650
     (2009). Petition’s reliance on Gomez is also misplaced, as the California Supreme Court
23   recognized in that case that Cunningham did not announce a new rule of constitutional law. 45
     Cal.4th at 656-660. Furthermore, In re Gomez is a California Supreme Court decision, and 28
24   U.S.C. § 2244(d)(1)(C) only applies to new rights recognized by the United States Supreme
     Court. See Dodd v. United States, 545 U.S. 353, 357-60 (2005) (holding that identical language
25   in 28 U.S.C.§ 2255 expressed congressional intent that the commencement of the limitation
     period is delayed where the United States Supreme Court itself has made a new rule retroactive).
26   Thus, In re Gomez does not provide petitioner with a later start date.

                                                       5
            Case 2:11-cv-02161-WBS-EFB Document 15 Filed 02/26/13 Page 6 of 6




 1   habeas petition after the one-year limitations period ran “resulted in an absolute time bar to

 2   refiling after his state claims were exhausted”); Laws v. Lamarque, 351 F.3d 919, 922

 3   (“[B]ecause [petitioner] did not file his first state petition until after his eligibility for federal

 4   habeas had already lapsed, statutory tolling cannot save his claim in the first instance.”).

 5           Furthermore, petitioner fails to assert a basis for equitable tolling. Petitioner has not pled

 6   facts showing that he diligently pursued his rights or that some external force prevented him

 7   from timely filing his petition. As there is no basis for tolling the statute of limitations, the

 8   petition must be dismissed as untimely.

 9   IV.     Conclusion

10           Accordingly, it is hereby RECOMMENDED that:

11           1. Respondent’s motion to dismiss, Dckt. No. 10, be granted; and

12           2. The Clerk be directed to close the case.

13           These findings and recommendations are submitted to the United States District Judge

14   assigned to the case, pursuant to the provisions of 28 U.S.C. § 636(b)(l). Within fourteen days

15   after being served with these findings and recommendations, any party may file written

16   objections with the court and serve a copy on all parties. Such a document should be captioned

17   “Objections to Magistrate Judge’s Findings and Recommendations.” Failure to file objections

18   within the specified time may waive the right to appeal the District Court’s order. Turner v.

19   Duncan, 158 F.3d 449, 455 (9th Cir. 1998); Martinez v. Ylst, 951 F.2d 1153 (9th Cir. 1991). In

20   his objections petitioner may address whether a certificate of appealability should issue in the

21   event he files an appeal of the judgment in this case. See Rule 11, Federal Rules Governing

22   Section 2255 Cases (the district court must issue or deny a certificate of appealability when it

23   enters a final order adverse to the applicant).

24   DATED: February 26, 2013.

25

26

                                                         6
